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10
                               UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                    SOUTHERN DIVISION
13
     UNITED STATES OF AMERICA,                    No. SACV 17-00460 JLS(KESx)
14   AND THE PEOPLE OF THE STATE
     OF CALIFORNIA, ex rel. PAUL
15   DALIDA,                                      UNITED STATES’ AND PEOPLE OF
                                                  THE STATE OF CALIFORNIA’S
16               Plaintiffs,                      CONSENT TO DISMISSAL OF ACTION
17                      v.
18   DHS CONSULTING, INC.,
19               Defendant.
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     Case 8:17-cv-00460-JLS-KES Document 16 Filed 04/27/18 Page 2 of 2 Page ID #:85




 1         In the interests of justice, the Attorney General of the United States of America
 2   (“United States”), and the Attorney General of the State of California (“California”),
 3   through their undersigned attorneys, hereby consent to the dismissal of this action
 4   without prejudice as to the United States and to California.
 5                                             Respectfully submitted,
 6    Dated: April 27, 2018                    NICOLA T. HANNA
                                               United States Attorney
 7                                             DOROTHY A. SCHOUTEN
                                               Assistant United States Attorney
 8                                             Chief, Civil Division
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11                                                /s/ Kent A. Kawakami
                                               KENT A. KAWAKAMI
12                                             Assistant United States Attorney
                                               Attorneys for the United States of America
13
14    Dated: April 27, 2018                    XAVIER BECERRA
                                               Attorney General of California
15                                             JACQUELINE DALE
                                               Supervising Deputy Attorney General
16
17                                                /s/ David A. Eligator
18                                             DAVID A. ELIGATOR
                                               Deputy Attorney General
19                                             Attorneys for the People of the State of California

20
21                                SIGNATURE ATTESTATION
22         As the attorney e-filing this document, I hereby attest that counsel for the People
23   of the State of California has concurred in this filing.
24                                             Respectfully submitted,
25
      Dated: April 27, 2018                      /s/ Kent A. Kawakami
26                                             KENT A. KAWAKAMI
                                               Assistant United States Attorney
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